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 6   Attorney for Plaintiff
 7                               UNITED STATES DISTRICT COURT
 8
                                        DISTRICT OF NEVADA
 9
     MARIA BEVERS;                                         Case No.: 2:17-cv-01476
10
                   Plaintiff,
11
     vs.                                                   COMPLAINT
12

13   NATIONAL CREDIT SYSTEMS, INC., a
     Georgia corporation
14
                   Defendants.
15

16
            Plaintiff, MARIA BEVERS (hereinafter referred to as “PLAINTIFF”), by and through
17
     undersigned counsel, brings this complaint against Defendant, NATIONAL CREDIT SYSTEMS,
18
     INC. (hereinafter referred to as “DEFENDANT”) and in support thereof alleges the following:
19
                                    PRELIMINARY STATEMENT
20
21          1.     PLAINTIFF      brings   this   action    for   statutory   damages   arising   from

22   DEFENDANT’s violations of the Fair Debt Collection Practices Act (hereinafter referred to as
23   the “FDCPA”), 15 U.S.C. § 1692, et seq.
24
                                     JURISDICTION AND VENUE
25
            2.     The Court has jurisdiction over this action pursuant to 15 U.S.C. § 1692k(d).
26
27          3.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of

28   the events giving rise to the claim occurred in Las Vegas, Nevada.
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 1                                              PARTIES
 2          4.     PLAINTIFF is a natural person residing in Henderson, Nevada.
 3
            5.     PLAINTIFF is a “consumer” as defined in the FDCPA at 15 U.S.C. § 1692a(3).
 4
            6.     PLAINTIFF allegedly owes a (past due) consumer “debt” as defined by 15 U.S.C.
 5
     § 1692a(5).
 6

 7          7.     DEFENDANT was formed in Georgia, the principal purpose of whose business

 8   is the collection of debts, with a principal place of business at 3750 Naturally Fresh Blvd.,

 9   Atlanta, GA 30349.
10
            8.     PLAINTIFF is informed and believes, and thereon alleges, that DEFENDANT
11
     regularly collects or attempts to collect consumer debts owed or due or asserted to be owed or due
12
     another and that DEFENDANT is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
13
                                       STATEMENT OF FACTS
14

15          9.     PLAINTIFF repeats, re-alleges, and incorporates by reference, paragraphs 1

16   through 8 inclusive, above.
17          10.    In June of 2016, PLAINTIFF moved out of the Montecito Pointe apartment
18
     complex.
19
            11.    At the time of move-out, PLAINTIFF paid what she believed was due.
20
            12.    On July 30, 2017, Esther Contreras, the Assistant Manager of Montecito Pointe
21

22   Apartments, called to notify PLAINTIFF that there remained a past due balance of $45.15.

23          13.    PLAINTIFF immediately paid the $45.15.

24          14.    On February 16, 2018, DEFENDANT sent, or caused to be sent, an initial
25   collection letter to PLAINTIFF regarding a past due debt allegedly owed to Montecito Pointe
26
     Apartments. See Exhibit 1.
27

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 1           15.     On February 26, 2018, PLAINTIFF notified DEFENDANT that she disputed
 2   owing the debt, by U.S. Mail and email. See Exhibit 2.
 3
             16.     Included with PLAINTIFF’s written dispute was an email from Montecito Pointe
 4
     Apartment stating that PLAINTIFF’S account was “paid in full and satisfied.” Id.
 5
             17.     On March 21, 2018, DEFENDANT sent, or caused to be sent, another collection
 6

 7   letter to PLAINTIFF. See Exhibit 3.

 8           18.     This letter threatened to report the debt to the three national credit bureaus if she

 9   did not enter into a repayment agreement. Id.
10
             19.     On April 2, 2018, DEFENDANT credit reported the alleged debt.
11
             20.     DEFENDANT did not report the debt as disputed.
12
             21.     On April 19, 2018, DEFENDANT sent, or caused to be sent, a letter to
13
     PLAINTIFF acknowledging that the debt is disputed. See Exhibit 4.
14

15                                     FIRST CLAIM FOR RELIEF

16                        VIOLATIONS OF THE FDPCA 15 U.S.C. § 1692g(b)
17           22.     PLAINTIFF repeats, re-alleges, and incorporates by reference, paragraphs 1
18
     through 21 inclusive, above.
19
             23.     “If the consumer notifies the debt collector in writing within the thirty-day period
20
     described in subsection (a) of this section that the debt, or any portion thereof, is disputed…the
21

22   debt collector shall cease collection of the debt, or any disputed portion thereof, until the debt

23   collector obtains verification of the debt.” 15 U.S.C. § 1692g(b).

24           24.     Here, DEFENDANT sent its initial collection to PLAINTIFF on February 16,
25   2018. Ex. 1.
26
             25.     On February 26, 2018, less than 30 day later, PLAINTIFF disputed owing the
27
     debt, in writing. Ex. 2.
28
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 1            26.   At this point, DEFENDANT should have ceased collection activities until it
 2   verified the alleged debt. 15 U.S.C. § 1692g(b).
 3
              27.   However, on March 21, 2018, DEFENDANT sent another collection letter to
 4
     PLAINTIFF. Ex. 3.
 5
              28.   This letter threatened to report the debt to the three national credit bureaus if
 6

 7   PLAINTIFF did not enter into a repayment agreement. Id.

 8            29.   On April 2, 2018, DEFENDANT credit reported the alleged debt.

 9            30.   On April 19, 2018, DEFENDANT finally acknowledged PLAINTIFF’S dispute.
10
     Ex. 4.
11
              31.   As a result of the FDCPA violations by DEFENDANT, PLAINTIFF is entitled to
12
     an award of statutory damages.
13
              32.   It has been necessary for PLAINTIFF to obtain the services of an attorney to
14

15   pursue this claim, and is entitled to recover reasonable attorneys’ fees therefor.

16                                     SECOND CLAIM FOR RELIEF
17                        VIOLATIONS OF THE FDPCA 15 U.S.C. § 1692e(8)
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              33.   PLAINTIFF repeats, re-alleges, and incorporates by reference, paragraphs 1
19
     through 32 inclusive, above.
20
              34.   A debt collector is prohibited from “[c]ommunicating or threatening to
21

22   communicate to any person credit information which is known or which should be known to be

23   false, including the failure to communicate that a debt is disputed.” 15 U.S.C. § 1692e(8)

24   (emphasis added).
25            35.   Here, PLAINTIFF notified DEFENDANT on or about February 26, 2018 that she
26
     disputed owing the debt. Ex. 2.
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28
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 1          36.     Included with PLAINTIFF’s written dispute was an email from Montecito Pointe
 2   Apartment stating that PLAINTIFF’S account was “paid in full and satisfied.” Id.
 3
            37.     On April 2, 2018, DEFENDANT credit reported the alleged debt.
 4
            38.     DEFENDANT did not report the debt as disputed.
 5
            39.     As a result of the FDCPA violations by DEFENDANT, PLAINTIFF is entitled to
 6

 7   an award of statutory damages.

 8          40.     It has been necessary for PLAINTIFF to obtain the services of an attorney to

 9   pursue this claim, and is entitled to recover reasonable attorneys’ fees therefor.
10
                                      DEMAND FOR JURY TRIAL
11
            41.     Please take notice that PLAINTIFF demands trial by jury in this action.
12

13                                        PRAYER FOR RELIEF
14
            WHEREFORE, PLAINTIFF respectfully prays that this Court grant the following relief in
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     PLAINTIFF’S favor, and that judgment be entered against DEFENDANT for the following:
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            (1)     For statutory damages awarded to PLAINTIFF, not to exceed $1000, pursuant to
17

18                  15 U.S.C. § 1692k(a)(2)(A);

19          (2)     For reasonable attorneys’ fees for all services performed by counsel in connection

20                  with the prosecution of these claims;
21          (3)     For reimbursement for all costs and expenses incurred in connection with the
22
                    prosecution of these claims; and
23
            (4)     For any and all other relief this Court may deem appropriate.
24
                    Dated this 7th day of June 2018
25

26                                                 Respectfully Submitted,
                                                   GESUND & PAILET, LLC
27
                                                      /s/ Keren E. Gesund, Esq.
28                                                    KEREN E. GESUND, ESQ.
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 5                                       Attorney for Plaintiff
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